                     UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION

UNITED STATES OF AMERICA and the )
STATE OF TENNESSEE ex rel. JEFFREY H. )
LIEBMAN and DAVID M. STERN, M.D. )
                                      )               Case No. 3:17-CV-00902
Plaintiff,                            )
                                      )               District Judge William L.
v.                                    )               Campbell, Jr.
                                      )
METHODIST LE BONHEUR                  )               Magistrate Judge Barbara D.
HEALTHCARE, METHODIST                 )               Holmes
HEALTHCARE-MEMPHIS HOSPITALS,         )
                                      )
                                      )
Defendants.                           )



               DEFENDANTS’ MEMORANDUM IN SUPPORT OF
                   MOTION FOR SUMMARY JUDGMENT




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Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 1 of 42 PageID #: 5629
                                                    TABLE OF CONTENTS

                                                                                                                                               Page

PRELIMINARY STATEMENT ................................................................................................. 1
BACKGROUND ........................................................................................................................... 3
          I.         Factual Background.............................................................................................. 3
          II.        Procedural Background ....................................................................................... 8
          III.       Government’s Complaint in Intervention and Contentions Regarding
                     Remuneration ........................................................................................................ 9
SUMMARY JUDGMENT STANDARD .................................................................................. 11
ARGUMENT ............................................................................................................................... 12
          I.         There Is No Proof That Any Referral Resulted from a Violation of the AKS.
                     ............................................................................................................................... 14
          II.        There Is No Evidence that Methodist Violated the AKS................................. 21
                     A.         There Is No Evidence of Illegal Remuneration. ................................... 21
                                1.          The Undisputed Evidence Demonstrates that Methodist’s
                                            Payments to West Were Fair Market Value. ........................... 23
                                2.          The Factual Record Demonstrates that the Government’s
                                            Contentions in its Complaint and Interrogatories Are
                                            Unsupported by Evidence. ......................................................... 26
                     B.         The Government Has Not Established that Methodist Made Any
                                Objectively False Certification. ............................................................. 28
          III.       There Is No Evidence That Methodist Engaged in Knowing or Willful
                     Conduct in Violation of the AKS or FCA. ........................................................ 30
CONCLUSION ........................................................................................................................... 35




                                      i
   Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 2 of 42 PageID #: 5630
                                               TABLE OF AUTHORITIES

Cases                                                                                                                         Page(s)

Anderson v. Liberty Lobby, Inc.,
   477 U.S. 242 (1986) ...........................................................................................................12, 13

U.S. ex rel. Bell v. Cross,
   2021 WL 5544685 (11th Cir. Nov. 26, 2021)..........................................................................29

Bible Believers v. Wayne Cty., Mich.,
   805 F.3d 228 (6th Cir. 2015) ...................................................................................................12

Bingham v. Baycare Health Sys.,
   2016 WL 8739056 (M.D. Fla. Dec. 16, 2016) .........................................................................22

Bingham v. HCA, Inc.,
   783 F. App'x 868 (11th Cir. 2019) ................................................................................... passim

U.S. ex rel. Cafasso v. Gen. Dynamics C4 Sys.,
   637 F.3d 1047 (9th Cir. 2011) .................................................................................................15

U.S. ex rel. Cairns v. D.S. Medical LLC,
   42 F.4th 828 (8th Cir. 2022) ........................................................................................14, 15, 32

Celotex Corp. v Catrett,
   477 U.S. 317 (1986) .................................................................................................................12

U.S. ex rel. Complin v. N.C. Baptist Hosp.,
   818 F. App’x 179 (4th Cir. 2020) ......................................................................................31, 32

U.S. ex rel. Crenshaw v. DeGayner,
   622 F. Supp. 2d 1258 (M.D. Fla. 2008) ...................................................................................33

DePalma v. Sec’y of Air Force,
   754 F. App’x 321, 328 (6th Cir. 2018) ....................................................................................18

U.S. ex rel. Donegan v. Anesthesia Assocs. of Kansas City, PC,
   833 F.3d 874 (8th Cir. 2016) ...................................................................................................31

U.S. ex rel. Ervin v. Hamilton Secs. Grp.,
   298 F. Supp. 2d 91 (D.D.C. 2004) ...........................................................................................33

U.S. ex rel. Fair Lab. Practices Assocs. v. Quest Diagnostics, Inc.,
   2011 WL 1330542 (S.D.N.Y. Apr. 5, 2011)............................................................................22

U.S. ex rel. Folliard v. Govplace,
   930 F. Supp. 2d 123 (D.D.C. 2013) .........................................................................................33



                                      ii
   Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 3 of 42 PageID #: 5631
Goodman v. J.P. Morgan Inv. Mgmt.,
   954 F.3d 852 (6th Cir. 2020) .............................................................................................12, 18

Hanlester Network v. Shalala,
   51 F.3d 1390 (9th Cir. 1995) ...................................................................................................33

U.S. ex rel. Hefner v. Hackensack Univ. Med. Ctr.,
   495 F.3d 103 (3d Cir. 2007).....................................................................................................33

U.S. ex rel. Hill v. Univ. of Med. & Dentistry of New Jersey,
   448 F. App’x 314 (3d Cir. 2011) .............................................................................................29

U.S. ex rel. Jamison v. McKesson Corp.,
   900 F. Supp. 2d 683 (N.D. Miss. 2012) .......................................................................28, 32, 33

Jones-McNamara v. Holzer Health Sys.,
   630 F. App’x 394 (6th Cir. 2015) ......................................................................................14, 22

Jordan v. Howard,
   987 F.3d 537 (6th Cir. 2020) .............................................................................................12, 18

U.S. ex rel. Ketroser v. Mayo Found.,
   729 F.3d 825 (8th Cir. 2013) ...................................................................................................31

Klaczak v. Consol. Med. Transp.,
   458 F. Supp. 2d 622 (N.D. Ill. 2006) .....................................................................28, 30, 33, 34

U.S. ex rel. Kosenske v. Carlisle HMA,
   2010 WL 1390661 (M.D. Pa., Mar. 31, 2010).........................................................................33

U.S. ex rel. Martin v. Hathaway,
   2023 WL 2661358 (6th Cir. Mar. 28, 2023) .................................................................... passim

McDonnell v. Cardiothoracic & Vascular Surg. Assocs.,
  2004 WL 3733402 (S.D. Ohio, Jul. 28, 2004) .........................................................................33

U.S. ex rel. McDonough v. Symphony Diagnostic Serv., Inc.,
   36 F. Supp.3d 773 (S.D. Ohio 2014) .......................................................................................27

U.S. ex rel. McGrath v. Microsemi Corp.,
   690 F. App’x 551 (9th Cir. 2017) ............................................................................................31

McQueen v. Barr,
  782 F. App’x 459 (6th Cir. 2019) ......................................................................................12, 18

Miller v. Abbott Labs,
   648 F. App’x 555 (6th Cir. 2016) ......................................................................................14, 22




                                      iii
   Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 4 of 42 PageID #: 5632
U.S. ex rel. Morton v. A Plus Benefits, Inc,
   139 Fed. Appx. 980 (10th Cir. 2005) .......................................................................................29

U.S. ex rel. Olhausen v. Arriva Med., LLC,
   2022 WL 1203023 (11th Cir. Apr. 22, 2022) ..............................................................14, 30, 32

U.S. ex rel. Owens v. First Kuwaiti,
   612 F.3d 724 (4th Cir. 2010) ........................................................................................... passim

U.S. ex rel. Owsley v. Fazzi Assocs.,
   16 F.4th 192 (6th Cir. 2021) ....................................................................................................15

U.S. ex rel. Purcell v. MWI Corp.,
   807 F.3d 281 (D.C. Cir. 2015) .................................................................................................31

Rodgers v. Banks,
   344 F.3d 587 (6th Cir. 2003) .............................................................................................11, 12

U.S. ex rel. Ruscher v. Omnicare, Inc.,
   663 F. App’x 368 (5th Cir. 2016) ............................................................................................32

U.S. ex rel. Sanderson v. HCA-The Healthcare Co.,
   447 F.3d 873 (6th Cir. 2006) ...................................................................................................15

United States ex rel. Schutte v. SuperValu Inc.,
   143 S. Ct. 644 (2023) ...............................................................................................................30

U.S. ex rel. Sheldon v. Allergan Sales, LLC,
   24 F.4th 340 (4th Cir.), opinion vacated on reh’g en banc, 49 F.4th 873 (4th
   Cir. 2022) .................................................................................................................................30

U.S. ex rel. Thomas v. Siemens AG,
   593 F. App’x 139 (3d Cir. 2014) .............................................................................................29

Tyson v. Sterling Rental, Inc.,
   836 F.3d 571 (6th Cir. 2016) ...................................................................................................12

United States v. Allergan, Inc.,
   746 F. App'x 101 (3d Cir. 2018) ........................................................................................30, 32

United States v. AseraCare, Inc.,
   938 F.3d 1278 (11th Cir. 2019) ...............................................................................................29

United States v. Bay State Ambulance & Hosp. Rental Serv., Inc.,
   874 F.2d 20 (1st Cir. 1989) ......................................................................................................32

United States v. Carter,
   311 F.2d 934 (6th Cir. 1963) ...................................................................................................30



                                      iv
   Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 5 of 42 PageID #: 5633
United States v. Davis,
   132 F.3d 1092 (5th Cir. 1998) .................................................................................................32

United States v. Jain,
   93 F.3d 436 (8th Cir. 1996) .....................................................................................................32

United States v. Life Care Ctrs. of Am., Inc.,
   114 F. Supp. 3d 549 (E.D. Tenn. 2014) ...................................................................................30

United States v. McClatchey,
   217 F.3d 823 (10th Cir. 2000) .................................................................................................32

United States v. Safeway Inc.,
   466 F. Supp. 3d 912 (C.D. Ill. 2020) .................................................................................31, 32

United States v. Starks,
   157 F.3d 833 (11th Cir. 1998) .................................................................................................32

United States v. Supervalu Inc.,
   9 F.4th 455, 472 (7th Cir. 2021) .........................................................................................30, 32

United States v. Wal-Mart Stores East, LP,
   858 F. App’x 876 (6th Cir. 2021) ............................................................................................13

U.S. ex rel. Wilson v. Kellogg Brown & Root,
   525 F.3d 370 (4th Cir. 2008) ...................................................................................................29

U.S. ex rel. Yannacopoulos v. Gen. Dynamics,
   652 F.3d 818 (7th Cir. 2011) ...................................................................................................29

Statutes

31 U.S.C. § 3729 ......................................................................................................................12, 13

31 U.S.C. § 3731 ............................................................................................................................15

42 U.S.C. § 1320a-7a(i)(6) ............................................................................................................22

42 U.S.C. § 1320a-7b(b) ....................................................................................................12, 14, 22

Other Authorities

85 Fed. Reg. at 77861 (Dec. 2, 2020) ............................................................................................23




                                      v
   Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 6 of 42 PageID #: 5634
                                PRELIMINARY STATEMENT

        After nearly six years of government investigation and litigation by relators and the

government, there is no proof that Methodist Le Bonheur Healthcare or Methodist Healthcare-

Memphis Hospitals (collectively “Methodist”) violated the Anti-Kickback Statute (“AKS”) or the

False Claims Act (“FCA”), and Methodist is entitled to summary judgment on all claims.

        For years, cancer care in Memphis was plagued by fragmentation and a lack of coordination

among providers, resulting in poor outcomes and widening health disparities. In 2011, Methodist

and Memphis’ premier private oncology practice, The West Clinic (“West”), entered into an

affiliation to improve cancer care and to become an integrated and multidisciplinary cancer center.

        The parties devoted significant efforts and resources to ensure that the affiliation complied

with applicable laws and regulations. Prior to executing contracts, the parties engaged national

law firms with recognized healthcare expertise to draft the agreements based on similar hospital-

physician integrations around the country. Methodist also engaged a national consulting firm to

structure the management agreement based on its experience setting up similar arrangements. The

parties set the compensation according to amounts that independent valuation firms determined

would be fair market value for the services provided.

        The affiliation, known as West Cancer Center, operated from 2012 to 2018 and was a

remarkable success for Memphis and the region. It integrated previously fragmented care;

recruited nationally-known cancer specialists to Memphis; received more than a dozen

certifications and accreditations from national cancer organizations; and, most importantly,

improved cancer care, reduced disparity gaps, and extended patient lives—regardless of patients’

ability to pay.

        Yet, the government claims that West Cancer Center was a fraud scheme and that all claims

billed by Methodist over the entire time period are false. The government does not contest that


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  Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 7 of 42 PageID #: 5635
West Cancer Center integrated care, created new programs, or recruited specialists, or that cancer

care improved in Memphis. Also, the government does not, and cannot, contest that Methodist

paid fair market value to West for services it provided. Instead, the government nit-picks certain

contractual provisions, argues that Methodist should have divined alleged errors in certain fair

market value opinions, and asserts that some fair market value opinions were inconsistent with the

parties’ agreements. This is not the stuff of criminal bribes and kickbacks. In a seminal decision

issued weeks ago, the Sixth Circuit rejected a similarly broad over-application of the AKS, holding

that a “faithful interpretation” of the elements of the AKS is meant “to target genuine corruption.”

U.S. ex rel. Martin v. Hathaway, 2023 WL 2661358 at *9 (6th Cir. Mar. 28, 2023). Even after six

years, the government’s case fails at every level, and there is no proof that Methodist violated the

AKS, let alone that the West Cancer Center affiliation amounted to “genuine corruption.”

       Summary judgment should be granted for three reasons. First, there is no evidence – as

required by Martin – that referrals from West physicians “resulted from” inappropriate payments.

Second, there is no evidence that Methodist provided “remuneration” to West as defined by the

AKS because the government can identify no evidence that Methodist’s payments to West

exceeded fair market value. Third, there is no evidence that Methodist acted with the required

scienter. To the contrary, Methodist acted in accordance with a reasonable interpretation of the

AKS that paying fair market value for services rendered was appropriate, and there is no evidence

to show that Methodist knew its conduct was wrongful.

       Unsupported speculation that Methodist must have somehow made inflated payments to

West doctors and that those payments must have somehow caused West doctors to refer some

unidentified patients to Methodist hospitals cannot establish an FCA violation, and this case should

be dismissed.




                                     2
  Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 8 of 42 PageID #: 5636
                                         BACKGROUND

I.       Factual Background

         Methodist is a nonprofit, faith-based healthcare system that has been serving the greater

Memphis area for over 100 years. (SUMF ¶ 6.) 1 As of 2010, Methodist operated numerous

hospitals that provided care to patients from across the Mid-South (Id. ¶ 8), and West was the

premier oncology practice in Memphis with nearly thirty doctors in various specialties. (Id. ¶ 13.)

         Cancer care in Memphis at that time was disjointed, fragmented, and suffered from a lack

of collaboration among providers. (Id. ¶ 1.) Patients often bounced between different physicians

and institutions for their care or had to travel to other cities to receive specialized treatment not

offered in Memphis. (Id. ¶ 2.) “Patient care and outcomes suffered as a result.” (Id. ¶ 5.)

         To address these issues, West issued a Request for Proposal (“RFP”) to multiple Memphis-

area health systems, including Methodist, proposing to enter into an affiliation to “promote

standardization of services, and improve the quality, efficiency and operations of the Hospital’s

medical oncology [] services, potentially access all of the Hospital’s sites of care.” (Id. ¶ 18.) The

affiliation structure proposed by West had been used by others in the healthcare industry as a way

to integrate oncology groups and hospitals. (Id. ¶ 20.)

         West proposed that: (1) West’s clinic sites (“Cancer Center Sites”) convert to provider-

based outpatient departments of a hospital, (2) the hospital enter into a professional services

agreement with West for clinical services, (3) the hospital lease West’s employees to staff the

service line, and (4) West be paid to co-manage the hospital’s oncology service line. (Id. ¶ 19.)

West wanted to partner with Methodist due to its nonprofit status and focus on providing



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  In accordance with Fed. R. Civ. P. 56 and Local Rule 56.01, Methodist is filing herewith a
Statement of Undisputed Material Facts in support of its Motion for Summary Judgment
(“SUMF”).


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     Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 9 of 42 PageID #: 5637
community care, which West believed would provide it additional opportunities to address

treatment disparities. (Id. ¶ 22.)

        Methodist shared West’s vision for bringing integrated cancer care to Memphis and saw

partnering as a way to bring the breadth and quality of West’s services to the patient population

Methodist served. (Id. ¶ 25.) Like West, Methodist wanted not only to provide the best cancer

care not just in Memphis but to develop a comprehensive cancer center that could become a

regional destination for state-of-the-art cancer care. (Id.) Methodist responded to West’s RFP,

and West ultimately selected Methodist as its future affiliation partner. (Id. ¶¶ 26–27.)

        West engaged the law firm of Foley & Lardner to negotiate and structure the affiliation

with Methodist based on Foley’s experience structuring similar arrangements, in particular a

cancer center affiliation for the University of Pittsburgh Medical Center. (Id.¶ 21.) For its part,

Methodist engaged Jones Day, which also had healthcare expertise and experience in developing

arrangements of the type West proposed. (Id.¶ 28.)

        The parties agreed that West would provide clinical services to Methodist patients through

a Professional Services Arrangement (“PSA”) that compensated West on a “wRVU” basis 2 for

work performed. (Id. ¶ 63.) Methodist engaged ECG Management Consultants (“ECG”) to work

in coordination with Jones Day to determine the fair market value of the clinical services West

would provide. (Id. ¶ 65.) The parties agreed that Methodist would pay West the amount of

compensation ECG determined to be fair market value. (Id. ¶ 66.) The wRVU rates from ECG’s

fair market value opinion were incorporated into the PSA, and throughout the affiliation, Methodist




2
  A work relative value unit (“wRVU”) is a standard unit of measurement of the time, skill,
training, and intensity required of a physician to provide a given service. (Compl. ¶ 131.)


                                        4
    Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 10 of 42 PageID #: 5638
paid West using the rates ECG determined to be fair market value. (Id. ¶ 67.) Methodist, however,

was not privy to how West in turn compensated its own physicians. (Id. ¶ 69.)

        West managed Methodist’s oncology service line pursuant to a Management Services

Agreement (“MSA”). (Id. ¶ 70.) Methodist engaged PricewaterhouseCoopers (“PwC”) to develop

the specific management services in the MSA, as PwC had significant experience constructing

similar affiliation transactions across the country. (Id. ¶¶ 30–31.) Methodist and West believed it

was critical to engage an experienced consulting firm to ensure the affiliation was created by

experts who knew the best way to “actually reach and build an integrated oncology program

between a community oncology clinic and a hospital-based oncology program.” (Id. ¶ 32.) Jones

Day engaged HealthCare Appraisers, Inc. (“HAI”) to value the management services PwC

developed. (Id. ¶ 71.) Methodist paid West the amount of compensation HAI determined to be

fair market value for the management services. (Id. ¶¶ 72, 132–133.)

        Beyond the initial valuations, independent third-party firms revalued the PSA and MSA

throughout the course of the affiliation to ensure continuing fair market value compensation for

West’s services. (Id. ¶ 76.) And, during this litigation, Methodist engaged an expert to conduct a

retrospective analysis of the management and professional fees, which confirmed that they were

consistent with fair market value. (Id. ¶ 46.) That analysis confirmed that West actually earned

less under the PSA than it had been earning in independent practice prior to the affiliation. (Id.

¶ 47.) It also confirmed that similar management arrangements resulted in management fees of

between 2.28% and 4.42% of revenue, while West earned between 1.58% and 2.28% during the

affiliation. (Id. ¶ 49.)

        Although West physicians provided clinical and management services to Methodist’s adult

oncology service line, they uniformly testified and it is undisputed that they were not required to




                                     5
 Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 11 of 42 PageID #: 5639
send their patients to Methodist. (Id. ¶ 173.) It is also undisputed that the physicians’ referral

decisions remained subject to their independent clinical judgment based on their patients’ best

interests. (Id. ¶¶ 178–79.) Before the affiliation, West physicians were already sending their

patients to Methodist. (Id. ¶ 177.) During the affiliation, they kept their privileges at other

hospitals and did not remove their patients from other systems when care at those systems was

appropriate. (Id. ¶¶ 175–76.) And, after the affiliation ended, they have continued to send their

patients to Methodist when they believe Methodist can provide the best care. (Id. ¶¶ 178–79.)

       As part of the affiliation, Methodist acquired the assets of West’s practice located within

the Methodist service area to use as part of Methodist’s adult oncology service line. (Id. ¶ 50.)

Methodist engaged Horne, LLP to determine the fair market value of West’s fixed assets, leasehold

improvements, and inventory. (Id. ¶ 51.) The parties agreed that Methodist would pay West the

compensation amount that Horne determined to be fair market value for those assets. (Id.) After

the transfer of assets, West’s former clinic locations became outpatient locations of Methodist

hospitals. (Id. ¶ 57.)

       Per the affiliation structure, many of West’s clinical employees, including its nurses at the

Cancer Center Sites, became Methodist employees. (Id. ¶ 54.) West leased other non-physician

employees to Methodist on a pass-through basis under a Leased Employee and Administrative

Services Agreement (“LEA”). (Id ¶ 55.) Because some leased employees spent a portion of their

time working for West’s non-affiliation business that had not been acquired by Methodist, the

parties created and documented an overhead allocation and repayment process for West to

reimburse Methodist for time and expense associated with non-affiliation work. (Id. ¶¶ 59–60.)

Over the course of the affiliation, West paid Methodist approximately $8.2 million for those dual-

use assets and leased employees through this true-up process. (Id. ¶ 62.)




                                     6
 Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 12 of 42 PageID #: 5640
       It is undisputed that the parties’ affiliation, which became known as the “West Cancer

Center,” drastically improved cancer care both at Methodist and in Memphis. (Id. ¶¶ 9, 78, 100,

110, 153.) The West physicians assumed leadership roles across the Methodist service line, where

they standardized care, developed multidisciplinary treatment protocols, hosted multidisciplinary

care conferences, trained Methodist’s physicians and nurses, recommended new equipment and

facilities, and helped the cancer center achieve more than a dozen rigorous quality certifications

from national cancer organizations. (Id. ¶¶ 79–131, 153–172.) Methodist’s leadership stayed in

constant coordination with West, meeting regularly to discuss the service line’s day-to-day

operations as well as larger strategic initiatives, recruiting efforts, and community impact of cancer

services. (Id. ¶ 130.) Among other numerous accomplishments, the parties increased clinical trials

and early detection screening, decreased hospital and emergency room admissions, reduced

surgical infections, increased patient and associate satisfaction scores, and developed new patient-

navigation, genetics, survivorship, and weight loss programs. (Id. ¶ 159.) Most importantly, they

increased survival outcomes for the cancer center’s patients, regardless of their ability to pay. (Id.)

       In 2018, upon the affiliation agreements’ expiration, West decided to pursue other business

ventures, and West and Methodist ended their affiliation pursuant to the terms of an Unwind

Agreement negotiated before the deal began. (Id. ¶¶ 18, 181.) West re-assumed the leases of the

Cancer Center Sites. (Id. ¶ 187.) West also purchased from Methodist the new Cancer Center

location on Wolf River Boulevard that opened during the affiliation for $51 million, as well as

other equipment, furniture, and assets for an additional $16 million. (Id.) In keeping with the

parties’ practice throughout the affiliation, these prices were determined according to independent

fair market value opinions. (Id. ¶ 188.) Methodist and West resumed their status as independent

organizations serving cancer patients with West physicians maintaining credentials on Methodist’s




                                     7
 Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 13 of 42 PageID #: 5641
medical staff and referring patients to Methodist on an as-needed basis. (Id. ¶ 190.)

II.     Procedural Background

        Relator Jeff Liebman filed this qui tam lawsuit under seal on May 30, 2017. (Dkt. No. 1.)

The government declined to intervene after two years of investigation. (Dkt. Nos. 44, 45.)

Liebman added David Stern as a co-relator and the case was unsealed. (Dkt. Nos. 59, 61.) 3

        Over the years, Methodist filed motions to dismiss different iterations of Relators’

complaint. (Dkt. Nos. 79, 174.) The filing of subsequent versions of the complaint and the

government’s delayed intervention mooted these motions, and the merits were not considered by

the Court. As a result, this motion for summary judgment will be the first time the Court has

considered the sufficiency of the evidence and the merit of the allegations against Methodist.

        In January 2021, with the government’s consent, Relators settled with West in exchange

for West paying $1.3 million to the government, paying $1.3 million to Relators’ counsel, and

agreeing to enter into a “cooperation agreement” to provide documents and information to Relators

for the continued prosecution of this case against Methodist. (Dkt. No. 145-2.)

        In October 2021, after the case had been pending for four years, and only six weeks prior



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  Relator Liebman served as CEO of one of Methodist’s hospitals from 2014 to 2017. (Compl.
¶ 19; Answer ¶ 19.) Liebman had received a final written warning about his employment at
Methodist in January 2017, and he filed this lawsuit a few months later. (SUMF ¶ 191.) Liebman
conceded he did not know how West physicians were compensated by Methodist or how any
physician’s compensation changed during the affiliation, nor did he have any personal knowledge
about the unwinding of the affiliation. (Id. ¶ 192.)

Relator Stern was Executive Dean of the University of Tennessee Health Science Center
(“UTHSC”), with which Methodist has been affiliated. (Compl. ¶¶ 20, 82; Answer ¶¶ 20, 82.)
During the affiliation, he served as a UTHSC representative on the strategic council for the West
Cancer Center. (Compl. ¶ 20; Answer ¶ 20.) He was removed from his role as Dean in 2017.
(SUMF ¶ 194.) He was subsequently placed on administrative leave and then terminated from
another leadership position at UTHSC soon after. (Id.) Stern retired from UTHSC in 2019. (Id.
.) Stern conceded he never saw the MSA, and likewise had no personal knowledge of the
unwinding of the affiliation. (Id. ¶ 195.)


                                        8
    Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 14 of 42 PageID #: 5642
to the close of fact discovery, the United States moved to intervene. (Dkt. No. 193.) Methodist

opposed the late intervention as highly prejudicial to Methodist given the length of the case’s

pendency. (Dkt. No. 195.) In March 2022, the Court denied the government’s motion to intervene

as to West but allowed intervention as to Methodist. (Dkt. Nos. 231–32.)

        The government’s Complaint in Intervention—the fifth version of a complaint filed—is

the operative complaint. (Dkt. No. 235 (“Compl.”).) Methodist answered and denied liability.

(Dkt. No. 242.) Based on the government’s representation to the Court when seeking intervention

that it was up to speed on the case and would narrow the scope of the case moving forward, the

parties agreed to complete the remaining discovery by September 23, 2022. (Dkt. No. 252.)

        After the close of fact discovery, the Magistrate Judge found that the government had not

followed through on its “representations and assurances to the Court that this would not become

effectively a new lawsuit” and that “this has, in fact, morphed into a new lawsuit with new

voluminous and sometimes unfounded discovery disputes, and we’re going to put an end to that.”

(Dkt. No. 299 at 7–8.) The Magistrate Judge further (1) found that “the government has not

demonstrated diligence in attempting to comply with the September 23rd, 2022 [discovery]

deadline,” (2) refused to allow the government additional fact depositions, (3) deemed the

government to have admitted numerous facts, and (4) closed fact discovery effective September

23, 2022. (Id. at 21.)

III.    Government’s Complaint in Intervention and Contentions Regarding
        Remuneration

        The government alleges that Methodist violated the AKS and, therefore, the FCA.

(Compl. ¶ 1.) 4 “The AKS … is a federal criminal statute that prohibits the knowing and willful


4
  Prior to government intervention, Relators had alleged that the West Cancer Center affiliation
also violated the Stark Law, which is a civil statute prohibiting certain financial arrangements
between hospitals and physicians who refer patients to those hospitals. (See, e.g., Dkt. No. 59.)


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    Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 15 of 42 PageID #: 5643
payment of remuneration to induce or reward patient referrals or the generation of business

involving any item or service payable by federal health care programs.” (Id. ¶ 27.) According to

the government, a “person violates the FCA when that person knowingly submits or causes to be

submitted claims to federal health care programs that result from violations of the AKS.” (Id.

¶ 37.) The government contends that Methodist falsely certified on claims and cost reports that it

acted in compliance with the AKS when, in fact, it violated the AKS. (See id. ¶¶ 43–75.)

        The government alleges that “the multi-agreement structure” between Methodist and West

“was a vehicle for kickbacks” that “was designed so that physicians and hospitals could align in a

manner that would avoid regulatory issues.” (Id. at p.38 § II; ¶ 203.) The government alleges that

under the MSA, “[k]ickbacks for the revenues Methodist generated from the West referrals,

however, were disguised as payments Methodist made during the deal, and expressly for certain

services that were supposed to be—but were not—provided under the MSA.” (Id. ¶ 5; see also id.

¶¶ 204–84).) The government alleges that “the conduct of Methodist and West show that those

agreements were largely meaningless paper” and that West continued “running the business of

West” for its own, independent benefit. (Id. ¶¶ 286, 305; see generally id. ¶¶ 285–307.)

        How exactly Methodist violated the AKS and what exactly constituted the allegedly

improper remuneration to West has been a moving target during the litigation. To pin down what

specific conduct it was supposed to defend, Methodist issued an interrogatory asking the

government to identify all unlawful remuneration that it contended Methodist offered or paid.

(SUMF ¶ 198 (Interrogatory No. 2).) In response, the government ultimately 5 identified the four



The government’s complaint dropped all allegations that any arrangement violated the Stark Law.
The only remaining claims are whether Methodist’s financial arrangements violated the AKS.
5
 The government originally answered this interrogatory on July 25, 2022, and then amended its
answers on December 19, 2022, January 25, 2023, and February 10, 2023. (SUMF ¶¶ 197–99.)


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    Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 16 of 42 PageID #: 5644
following alleged acts:

         1.    “Methodist allowed West to continue to operate itself out of the same locations that

it sold under the Asset Purchase Agreement (‘APA’) or that Methodist otherwise purchased during

the relationship without any documented payment for rent or overhead.” (SUMF ¶ 199 at 7.)

        2.     Methodist “paid the West oncologists approximately $60 million in excess of their

professional collections over the time period of 2012-2018.” (Id.)

        3.     Prior “to the deal, West provided much of same base management services for the

business of West without compensation.” (Id.)

        4.     Methodist “paid West under the LEA for much of the work West purportedly was

doing under the MSA.” (Id. at 8.)

        None of this conduct, however, amounts to unlawful remuneration under the AKS, and

Methodist is entitled to summary judgment as to all claims. 6

                           SUMMARY JUDGMENT STANDARD

        Summary judgment is appropriate where “there is no genuine dispute as to any material

fact and the movant is entitled to judgment as a matter of law.” FED. R. CIV. P. 56(a). At the

outset, the moving party has the burden to inform the Court of the basis for its motion and to

identify portions of the record that demonstrate the absence of a genuine dispute over material

facts. See Rodgers v. Banks, 344 F.3d 587, 595 (6th Cir. 2003). The moving party may satisfy

this burden by presenting affirmative evidence that negates an element of the non-moving party's

claim or by demonstrating an absence of evidence to support the nonmoving party's case. Id.


Following the close of fact discovery, the government sought to add new forms of remuneration
not previously raised in its complaint or during fact discovery. (See id. ¶ 199.) The interrogatory
answers served on February 10, 2023 are the operative answers. (Id.)

6
 The Complaint in Intervention brings four causes of action under various provisions of the FCA.
Methodist seeks summary judgment as to all causes of action for the reasons set forth herein.


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    Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 17 of 42 PageID #: 5645
       The Court must view the facts in the light most favorable for the nonmoving party and

draw all reasonable inferences in its favor. See Bible Believers v. Wayne Cty., Mich., 805 F.3d

228, 242 (6th Cir. 2015). The Court does not weigh the evidence, judge the credibility of

witnesses, or determine the truth of the matter. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

249 (1986). Rather, the Court determines whether the non-moving party has come forward with

sufficient evidence to make the issue of material fact a proper jury question. Id.

       Of course, the mere scintilla of evidence in support of the nonmoving party’s position is

insufficient to defeat summary judgment; instead, there must be evidence from which the jury

could reasonably find for the nonmoving party. See Rodgers, 344 F.3d at 595. Likewise,

“speculation is insufficient to establish a genuine issue of material fact.” Goodman v. J.P. Morgan

Inv. Mgmt., 954 F.3d 852, 865 (6th Cir. 2020); Jordan v. Howard, 987 F.3d 537, 545 (6th Cir.

2020). Indeed, speculation about motivation is not evidence at all and is insufficient to create a

triable issue of fact. See McQueen v. Barr, 782 F. App’x 459, 466 n.3 (6th Cir. 2019); Tyson v.

Sterling Rental, Inc., 836 F.3d 571, 583 (6th Cir. 2016). Finally, “a complete failure of proof

concerning an essential element of the non-moving party’s case necessarily renders all other facts

immaterial” and “mandates the entry of summary judgment for the moving party.” Celotex Corp.

v Catrett, 477 U.S. 317, 322–23 (1986).

                                          ARGUMENT

       The FCA imposes civil liability for “knowingly present[ing], or caus[ing] to be presented,

a false or fraudulent claim [to the government] for payment or approval.” 31 U.S.C.

§ 3729(a)(1)(A). Among other types of false claims, the FCA reaches claims for “items or services

resulting from” an AKS violation, which prohibits medical providers from making referrals “in

return for” illegal “remuneration.” 42 U.S.C. § 1320a-7b(b); U.S. ex rel. Martin v. Hathaway, 63

F.4th 1043, 2023 WL 2661358 (6th Cir. 2023).


                                    12
 Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 18 of 42 PageID #: 5646
       The government alleges Methodist violated the FCA by falsely certifying AKS compliance

on claims and cost reports when its relationship with West allegedly amounted to an AKS violation.

To establish an FCA violation, the government must prove that (1) the defendant knowingly

[scienter]; (2) presented or caused to be presented [causation]; (3) a false claim [falsity]; and (4)

such falsity was material to the government’s payment decision [materiality].             31 U.S.C.

§ 3729(a)(1)(A); United States v. Wal-Mart Stores East, LP, 858 F. App’x 876, 878 (6th Cir. 2021).

Methodist is entitled to summary judgment because the government has not proven: (1) causation

(that any claim resulted from an AKS violation); (2) falsity (that Methodist violated the AKS); or

(3) scienter (that Methodist knowingly and willfully violated the AKS or knowingly submitted

false claims).

       First, the government has not established causation because the government only speculates,

with no evidence, that any Medicare referral “resulted from” unlawful remuneration paid to a West

physician. See Martin, 2023 WL 2661358, at *7. The government fails not only to tie any alleged

referral to any unlawful remuneration paid to a West physician, but also to identify any evidence

that West mandated its physicians to refer patients to Methodist. To the contrary, the undisputed

evidence, as West physicians uniformly testified, is that no such mandate existed. Cf. Martin, 2023

WL 2661358, at *7-9 (affirming FCA/AKS dismissal at pleading stage when plaintiffs failed to

identify any specific referrals, on a physician-by-physician, claim-by-claim basis, that would not

have occurred but-for the unlawful remuneration). The government would not even satisfy the

FCA’s pleading standard for alleging causation, let alone survive summary judgment, which

requires “concrete evidence from which a reasonable juror could return a verdict” in its favor.

Anderson, 477 U.S. at 256; Martin, 2023 WL 2661358, at *7-8.

       Second, the government cannot establish falsity because Methodist did not pay unlawful




                                    13
 Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 19 of 42 PageID #: 5647
“remuneration” to West. Courts have held that the term “remuneration” used in the AKS requires a

payment to be other than fair market value. See Bingham v. HCA, Inc., 783 F. App’x 868, 873-75

(11th Cir. 2019); Miller v. Abbott Labs, 648 F. App’x 555, 561 (6th Cir. 2016); Jones-McNamara v.

Holzer Health Sys., 630 F. App’x 394, 400 (6th Cir. 2015). In this case, because the payments at

issue were fair market value as determined by qualified industry experts, there was no unlawful

remuneration and, consequently, no AKS violation. Additionally, the government cannot point to

any evidence that any claim for services submitted to any federal healthcare program was

objectively false.

       Third, there is no evidence that Methodist “knowingly and willfully” violated the AKS and,

as a result, violated the FCA. Methodist possessed an objectively reasonable interpretation of the law

that no AKS violation existed if each component of the transaction was paid at fair market value.

And, no official governmental guidance existed to warn Methodist away from its objectively

reasonable interpretation. Therefore, Methodist could not have knowingly violated the law. See, e.g.,

U.S. ex rel. Olhausen v. Arriva Med., LLC, 2022 WL 1203023, at *2 (11th Cir. Apr. 22, 2022).

I.     There Is No Proof That Any Referral Resulted from a Violation of the AKS.

       The government cannot survive summary judgment on its AKS claim because there is no

proof that any allegedly false claim resulted from a violation of the AKS. The AKS provides that “a

claim that includes items or services resulting from a violation [of the AKS] constitutes a false or

fraudulent claim for purposes of the [FCA].” 42 U.S.C. § 1320a-7b(b). Put differently, “[w]hen it

comes to violations of the [AKS], only submitted claims resulting from the violation are covered by

the [FCA].” Martin, 2023 WL 2661358, at *7 (internal citation omitted); see also U.S. ex rel. Cairns

v. D.S. Medical LLC, 42 F.4th 828, 834–35 (8th Cir. 2022). The government cannot establish—

through concrete, admissible evidence—that any claim would not be have been submitted to a




                                    14
 Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 20 of 42 PageID #: 5648
government healthcare program “but for” Methodist’s payment of unlawful remuneration. Id. 7

        As the Sixth Circuit held just weeks ago in Martin, this requires a physician-by-physician,

claim-by-claim analysis showing that unlawful remuneration caused the physician-referrals at

issue. The Sixth Circuit’s analysis is dispositive and fatal to the government’s claims in this case.

In Martin, the relator alleged that a hospital’s agreement with a physician practice not to employ

the relator (who would have been a competing ophthalmologist)—in return for a general

commitment from the practice to continue sending surgery referrals to the hospital—violated the

AKS and resulted in the submission of false claims. Martin, 2023 WL 2661358, at *1. The Sixth

Circuit held that the relator’s view of both “remuneration” and “causation” under the AKS was far

too broad, warning that “reading causation too loosely or remuneration too broadly appear as

opposite sides of the same problem. Much of the workaday practice of medicine might fall within

an expansive interpretation of the [AKS]. Worse still, the statute does little to protect doctors of

good intent, sweeping the vice-ridden and virtuous alike.” Id. at *8.

        On causation, the Sixth Circuit analyzed each of the claims the relator alleged were the

result of an AKS violation. For surgeries performed at the hospital, the Sixth Circuit pointed to

the lack of allegations that any physician was ordered or mandated by defendants to perform the

surgeries there. Id. at *7. For claims submitted by the physician practice that came from hospital

referrals, the Sixth Circuit found that “individual physicians [at the hospital] ultimately decided to


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 Given the FCA’s title and statutory language, “[i]t seems to be a fairly obvious notion that a False
Claims Act suit ought to require a false claim.” U.S. ex rel. Cafasso v. Gen. Dynamics C4 Sys.,
637 F.3d 1047, 1055 (9th Cir. 2011). The FCA “attaches liability, not to the underlying fraudulent
activity or to the government’s wrongful payment, but to the claim for payment.” U.S. ex rel.
Owsley v. Fazzi Assocs., 16 F.4th 192, 196 (6th Cir. 2021). Thus, the government must link the
elements of liability to each claim it contends violates the FCA. 31 U.S.C. § 3731(d); see generally
U.S. ex rel. Sanderson v. HCA-The Healthcare Co., 447 F.3d 873, 878 (6th Cir. 2006) (pointing
out that the “fraudulent claim is the sine qua non of [an FCA] violation” and that the alleged falsity
of a claim cannot be based upon “speculation”) (internal quotation and citations omitted).


                                       15
    Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 21 of 42 PageID #: 5649
whom they would refer patients,” and because the relator “failed to allege that [the hospital] could

control or direct the referral decisions of its physicians, their independent choices doom the chain

of causation there, too.” Id. at *8. Finally, for the one surgery the relator identified that the

defendant performed seven months after the hospital agreed not to hire the relator, the Sixth Circuit

observed that not only had the relator failed to identify any exchange of value “to anchor the

scheme in time or place,” but also that “[t]emporal proximity by itself does not show causation,

and seven months would create few inferences of cause and effect anyway.” Id. (citation omitted).

       What the government offers here amounts to even less and would not survive a motion to

dismiss, let alone summary judgment. Ignoring every link in the chain of causation, the Court

would have to accept the bald assumption that because the affiliation agreements between West

and Methodist ran from 2012–2018, any claim submitted by Methodist or West as part of that

affiliation must have been the result of some criminal kickback. But, West does not treat or refer

patients—its physicians do. The government would ask the Court to assume that because West

entered into an affiliation with Methodist, then every patient-referral decision by every physician

associated with West for more than seven years was the direct result of a kickback from Methodist.

At summary judgment, this is a bridge too far.

        Despite knowing its burden of proof, the government offers no evidence regarding which,

if any, of the hundreds of thousands of claims submitted during the affiliation resulted from

unlawful remuneration paid to the physician who referred those services. During discovery,

Methodist asked the government to identify the claims it alleges to be false, including the basis on

which the government contends the claims are false. (SUMF ¶ 200.) The government offered this

response:

       Under the Anti-Kickback Statute (‘AKS’), damages are measured by the false
       claims are [sic] the claims Defendants submitted or caused to be submitted to



                                    16
 Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 22 of 42 PageID #: 5650
       Medicare that were obtained through Methodist’s unlawful relationship with West.
       The time period the claims were submitted commences January 1, 2012 through
       December 31, 2018…Given the number of claims at issue, the United States
       refers to the claims data produced in this action…

(Id.) (emphasis added). Methodist then sought Rule 30(b)(6) deposition testimony from the United

States regarding “[f]or each CLAIM that YOU identify as false, the factual basis and methodology

for YOUR determination that the CLAIM resulted from any alleged kickback.” (Id. ¶ 201.)

(emphasis added). The government designated Michael Petron, an outside consultant who is not

an employee of the government, as its 30(b)(6) representative. (Id.) Mr. Petron testified that he

was provided a dataset that included claims associated with 86 West physicians, and he calculated

the total amount of reimbursed claims submitted by those physicians. (Id. ¶ 202.)

       In remarkable testimony, the United States’ own designated representative could not

explain (1) how the list was compiled; (2) what payments any of the 86 physicians might have

received to influence their referrals; (3) whether the physicians were referring to Methodist before

the affiliation began; or even (4) whether they were employed by or shareholders of West during

the period for which claims were gathered. (Id. ¶ 203.) He had no factual basis to explain how

any alleged kickbacks Methodist paid to West purportedly caused the submission of any of the

claims in the dataset reviewed. (Id. ¶ 204.) As Mr. Petron conveniently explained: “It’s my

understanding that their relationship violates the law. And so all of the claims are a result of the

relationship.” (Id.) (emphasis added).

       This is an astounding and dispositive failure of proof on what the Sixth Circuit recognized

in Martin as a critical element of AKS liability. The government has not carried its burden to show

that any West physician was required to make any referral to Methodist or that any West

physician’s referral decision was the direct result of some kickback, bribe, or other remuneration

paid from Methodist. Indeed, rather than demonstrate but-for causation linking purportedly



                                    17
 Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 23 of 42 PageID #: 5651
unlawful remuneration to any of the West physicians regarding any of their referral decisions, the

government speculates that causation must exist as to all claims. But, “speculation is insufficient

to establish a genuine issue of material fact.” Goodman, 954 F.3d at 865; see also Jordan, 987

F.3d at 545; McQueen, 782 F. App’x at 466 n.3; DePalma v. Sec’y of Air Force,

754 F. App’x 321, 328 (6th Cir. 2018).

       The undisputed evidence makes clear that the government’s assumption is wrong and the

required causation does not exist. Several factors material to the Sixth Circuit’s decision in Martin

are present here, including that (1) neither Methodist nor West mandated referrals to any specific

provider, (2) physicians made independent decisions regarding where to refer their patients, and

(3) the government fails to establish that any specific referral by any specific West physician would

not have otherwise occurred but for some unlawful remuneration. Martin, 2023 WL 2661358, at

*7–9. Instead, the government engages in precisely the same fallacy the Sixth Circuit rejected in

Martin; namely, asserting that “nearly anything a [doctor] accepts . . . counts as a quid; and nearly

anything a [doctor refers] . . . counts as a quo.” Id. at *24. But “that simply is not the law.” Id.

       The West physicians uniformly testified that they were not required to refer to any

particular hospital. (SUMF ¶¶ 173–180 (citing Berry Decl. ¶ 16 (“West’s participation in the

affiliation did not affect my patient referral practices or decisions.”); Richey Decl. ¶ 29 (“[M]y

choice for patient referrals was never impacted by any payments made from Methodist to West. I

was never pressured or instructed by anyone at Methodist or West to refer my patients to a

Methodist facility.”); Portnoy Decl. ¶ 19 (“I was never pressured or instructed by anyone at

Methodist or West to refer my patients to a Methodist facility.”); Tillmanns Decl. ¶ 24 (“West’s

participation in the Affiliation did not affect my patient referral practices or decisions.”); Ballo

Decl. ¶ 28 (“West’s participation in the Affiliation did not alter my patient referral decisions.




                                    18
 Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 24 of 42 PageID #: 5652
Further, my choice for patient referrals was never impacted by any payments made from Methodist

to West. I was never pressured or instructed by anyone at Methodist or West to refer my patient to

a Methodist facility.”)).). 8 All of this testimony is unrebutted.

        In fact, it is further undisputed that the West physicians retained privileges and continued

to see patients at other facilities. (See id. ¶ 178 (citing Somer Dep. 235:12–24 (“Q: Was your

decision-making process where to send your patients and what services to order influenced by the

fact that West entered into the MSA and PSA with Methodist? A: … the decisions were made

based on where we could be assured that our patients got the best care, and if we were confident

in the services, that’s where we would send them. . . . We never took patients out of another system

either. Like, we go where they are in the –and we still do.”))) Many of the West physicians used

Methodist’s facilities prior to the affiliation and have continued to do so after the affiliation

agreements expired. (See id. ¶ 177 (citing Portnoy Decl. ¶ 19 (“Before the Affiliation, I sent many

of my patients to Methodist Germantown Hospital, and I continue to do so today…my choice

regarding where to send my patients was never impacted by any payments made from Methodist

to West.”); Somer Dep. 234:4–12 (“Q: Have you continued to maintain your privileges at




8
  (See id. (citing Schwartzberg Dep. 268:9–269:11 (“Q: Did the fact that West was receiving
compensation from Methodist under the PSA, MSA, or other agreements, did that impact in any way
where you decided to refer patients? A: It did not. Q: Did it impact in any way whether you decided
to order certain services or not for patients? A: Had no impact on the services. I tried to order the
appropriate services in every case…. Q: Did anyone from Methodist ever instruct you or pressure
you to send more patients to Methodist? A: No. Q: Did anyone at Methodist ever instruct you or
pressure you to have other West physicians send patients to Methodist? A: No.”); Tauer Dep. 249:7–
21 (“Q: Did anybody at Methodist ever instruct you or pressure you to send more patients to
Methodist? A: No. Q: From what you observed as a leader in the West Clinic practice, did anybody
at Methodist ever pressure other West physicians to – on where to send patients or what services to
order? A: No. Q: Did Methodist ever condition any of the financial amounts that were paid under
any of the agreements on the volume or value of referrals from West? A: No...”); Somer Dep. 235:25–
236:2 (“Q: Did anyone at Methodist ever instruct you or pressure you to send more patient to
Methodist? A: No.”)).).


                                       19
    Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 25 of 42 PageID #: 5653
Methodist? A: Yeah. Q: Do you still use Methodist for services for you patients? A: Yes. Q: How

do you decide[] today where to send one of your patients that needs hospital services? A: Wherever

they can get they can get the best care.”)).)

       The undisputed evidence also demonstrates that the West physicians made their referral

decisions on a patient-by-patient, service-by-service basis depending upon each physician’s

considerations of professional judgment, patient choice, physician expertise, where the patient had

previously received services, payor requirements, availability of services and specialties,

attainment of national accreditations and compliance with national guidelines, and quality. (Id.

¶ 178.) These considerations are totally unrelated to any remuneration paid to West, much less

remuneration provided to a specific doctor to induce a specific patient referral.

       Indeed, the undisputed evidence demonstrates that, to the extent West physicians’ referrals

to Methodist increased, the increase was due to the higher level of care that had been achieved as

a result of the affiliation. (See id. (citing Tauer Dep. 249:22–250:11 (“Q: As a result of the

affiliation, did you feel like you had more control over the quality of services being provided at

Methodist? A: The goal of the program was to make sure that we had more quality in the hospital

setting, particularly and in the outpatient setting as we can take advantage of it, so yes, I did. Q:

Did that impact your decision or the decisions of other West physicians on where to send patients?

A: Given the criteria I gave you earlier about geographic locations and ease for the patient, it

certainly did. Q: Quality matters in that respect? A: It always matters.”); Richey Decl. ¶¶ 8, 17

(“[A]ffiliation enhanced patient care and outcomes for cancer patients and added to the depth of

knowledge and the skillset of practitioners serving the Memphis community….The MSA afforded

the West physicians, including myself, the ability to affect patient care at Methodist hospitals in

ways that are not otherwise available to individual physicians who were advocating for this type




                                    20
 Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 26 of 42 PageID #: 5654
of specialized treatment. In my opinion, the Affiliation and the MSA allowed the West Cancer

Center to provide enhanced care to the Memphis community and to better advocate and support

the cancer patient population.”); Tillmanns Decl. ¶¶ 25–26 (“When I referred a patient to a

Methodist facility, I did so because I believed in my professional opinion that Methodist offered

the best care for that patient. . . . I continue to refer my patients to Methodist because I believe it

is in the best interest of the patient. . . . I believe that the Affiliation advanced the quality of cancer

care in Memphis and created a framework to hold everyone in the community, not just at the West

Cancer Center, accountable to one another regarding the quality of care we were providing.”)).)

These are exactly the types of facts that the Sixth Circuit determined in Martin debunk any notion

that the conduct at issue violates the AKS.

        Because the government has no admissible evidence to support its contention that every

single claim submitted during the seven-year affiliation was directly caused by a kickback from

Methodist—and, indeed, all the admissible, undisputed evidence regarding the basis for referrals

directly contradicts the government’s contention—it cannot prove the chain of causation. The

failure of proof requires entry of summary judgment.

II.     There Is No Evidence that Methodist Violated the AKS.

        As a separate ground for summary judgment, the government has not established that

Methodist violated the AKS and, thus, cannot establish that Methodist submitted any false

certification to Medicare regarding compliance with the AKS. First, the government must show,

but only speculates, that Methodist paid above fair market value compensation.                    Second,

Methodist’s certifications of compliance with the AKS were not objectively false.

        A.      There Is No Evidence of Illegal Remuneration.

        The AKS provides for criminal and civil liability for “knowingly and willfully offer[ing]

or pay[ing] any remuneration (including any kickback, bribe, or rebate) directly or indirectly,


                                    21
 Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 27 of 42 PageID #: 5655
overtly or covertly, in cash or in kind to any person to induce such person ... to refer an individual

to a person for the furnishing ... of any item or service” that is reimbursable under a federal health

care program. 42 U.S.C. § 1320a-7b(b)(2)(A) (emphasis added).

        The AKS itself does not define remuneration, so, in Bingham, the Eleventh Circuit looked

first to BLACK’S LAW DICTIONARY, which defines “remuneration” in pertinent part as “[p]ayment;

compensation.” Id. at 873. Compensation, in turn, “cannot be given unless some sort of benefit

is conferred.” Id. In light of these definitions, the Eleventh Circuit held that remuneration is

provided only when a benefit is conferred and that “the value of a benefit can only be quantified

by reference to its fair market value.” Id. The Eleventh Circuit then looked to the Medicare Act,

which defines “remuneration” as “transfers of items or services for free or for other than fair

market value,” 42 U.S.C. § 1320a-7a(i)(6) (emphasis added), and stated that this definition further

supported its conclusion that fair market value transactions do not implicate the AKS. Bingham,

783 F. App’x at 873-75. 9 Accordingly, the Eleventh Circuit affirmed the district court’s grant of

summary judgment because the plaintiff did not show that any of the arrangements at issue

conferred any benefit in excess of fair market value. Id. at 874.

         Here, the undisputed evidence is that the payments under the parties’ agreements were

fair market value. Stated conversely, the government, which bears the burden of proof, developed




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 Although the Sixth Circuit has not directly addressed this issue, it has also held that the word
“remuneration” must mean a payment made for other than fair market value. See Miller, 648 F.
App’x at 561 (quoting statute); Jones-McNamara, 630 F. App’x at 400 (same); see generally
Martin, 20232023 WL 2661358, at (noting that this circuit has assumed twice before that this
definition—that remuneration is “items or services for free or for other than fair market value”—
applies to the AKS). Further, multiple other courts have construed remuneration to be something
other than fair market value. See, e.g., Bingham v. Baycare Health Sys., 2016 WL 8739056, at *5
(M.D. Fla. Dec. 16, 2016); U.S. ex rel. Fair Lab. Practices Assocs. v. Quest Diagnostics, Inc.,
2011 WL 1330542, at *2 (S.D.N.Y. Apr. 5, 2011).



                                       22
    Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 28 of 42 PageID #: 5656
no proof that any payments from Methodist to West were not fair market value. Consequently, the

parties’ conduct did not implicate—and, therefore, could not have violated—the AKS.

         The government takes the remarkable position in a motion in limine that whether payments

Methodist made to West were “fair market value” is irrelevant because Methodist has not raised

any “safe harbor” defense. (See Dkt. No. 307.) 10 But, the Eleventh Circuit in Bingham concluded

that “the issue of fair market value is not limited to” a defendant’s safe harbor defense, “but is

rather something [plaintiff] must address in order to show that [the defendant] offered or paid

remuneration.” Bingham, 783 F. App’x at 873. The Eleventh Circuit affirmed the district court’s

grant of summary judgment because the relator did not show that any of the arrangements

conferred any benefit in excess of fair market value. Id. at 874. In sum, compensation paid is not

unlawful remuneration if the compensation was fair market value for services rendered. 11

                1.     The Undisputed Evidence Demonstrates that Methodist’s Payments to
                       West Were Fair Market Value.

         Because the government does not consider fair market value to be relevant to establish a



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  The U.S. Department of Health and Human Services (“HHS”) has issued various safe harbor
regulations that protect individuals and entities from prosecution and sanctions under the AKS if
they satisfy the safe harbor’s conditions. Compliance with a safe harbor is voluntary, and the
government has made clear that failure to comply with a safe harbor does not mean that an
arrangement is per se illegal. See, e.g., Medicare and State Health Care Programs: Fraud and
Abuse; Revisions to Safe Harbors Under the Anti-Kickback Statute, and Civil Monetary Penalty
Rules Regarding Beneficiary Inducements, 85 Fed. Reg. at 77861 (Dec. 2, 2020) (“[W]e
emphasize that safe harbors are voluntary and that any assessment of liability under the Federal
anti-kickback statute requires an analysis of the facts and circumstances specific to the
arrangement, including the intent of the parties.”).
11
  Whether a payment was fair market value is critical to the assessment of whether an arrangement
contains appropriate safeguards as well as relevant to the parties’ intent. 85 Fed. Reg. at 77685.
Thus, the fair market value nature of a payment is not, and can never be, “irrelevant” to an AKS
analysis. Evaluating whether a payment is fair market value is critical to determining whether an
arrangement implicates the AKS, whether an arrangement includes appropriate safeguards, and
whether the parties have the requisite intent to violate the statute.



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     Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 29 of 42 PageID #: 5657
violation of the AKS, it chose not to develop affirmative proof regarding the fair market value

nature of the compensation paid in this case. As a result, the only evidence in the record

demonstrates that Methodist paid fair market value under the agreements with West. Furthermore,

the government developed no proof that any individual West physician received any compensation

that was not fair market value for that physician’s services.

       The undisputed evidence in this case is that payments were at fair market value. The

government disclosed two expert witnesses, Tim Smith and Lucy Carter, who both expressly

disclaimed conducting any fair market value review of the compensation arrangements in this case.

(SUMF ¶ 211.) 12 Conversely, Methodist’s fair market value expert Todd Mello conducted a

comprehensive fair market review of the compensation paid to West under the PSA and concluded

that whether viewed under any valuation approach–market, cost, or income–the payments made

to West were within fair market value. (Id. ¶¶ 46, 212.) Indeed, Mr. Mello found that in viewing

aggregate compensation across the term of the PSA, West Clinic earned less under the PSA than

it had been earning in independent practice prior to the affiliation. (Id. ¶ 47.) Similarly, Mr. Mello

found that the payments made under the MSA fell within fair market value. (Id.) Additionally,

even taking into account any alleged “errors” in the contemporaneous valuations asserted by the

government’s expert, Mr. Mello concluded that the amount of payments still fell within fair market

value. (Id.)

       Witnesses testified that the parties set compensation in the agreements at amounts that

qualified industry experts determined to be fair market value. (Id. ¶¶ 38–40 (citing Richey Decl.

¶ 18 (“I was also involved in discussions relating to the re-evaluations of the management and


12
  The government may have conducted no fair market value review of any of the arrangements
because it knows that such reviews, such as that conducted by Methodist’s expert, would only
further validate that fair market value was paid.


                                    24
 Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 30 of 42 PageID #: 5658
professional services agreements. I understood that Methodist’s payment of professional and

management fees was subject to fair-market value opinions. I always expected and understood

that West would be paid fair market value for the management and professional services provided

by the West physicians”))); (see also id. ¶ 38 (citing McLean Dep. Vol. I 260:4–6 (“Methodist

agreed to pay under the [MSA] based on the fair market value opinion that we received.”), 22:2–

5 (“We agreed to pay, under the [PSA], fair market value rates determined by an outside fair market

value appraiser.”); McLean Dep. Vol. II 147:18–21 (“[T]he only thing we paid [West] was . . . a

PSA, an MSA, and an [APA], and they were all based on the final fair market value opinions that

we got[.]”)).)

       For its part, West did not expect compensation differences among the parties responding

to its RFP because the compensation would be determined by outside fair market value opinions.

(Id. ¶ 23.) Compensation discussions “revolved around fair market value, always.” (Id. ¶ 38

(quoting Shorb Dep. 88:15–16).) The parties set compensation under the agreements based on the

fair market value opinions, and then negotiated within those ranges. (Id. ¶¶ 41–42.)

       In obtaining fair market value reviews, the parties never limited the questions the fair

market valuators could ask and supplied all information the evaluators requested. (Id. ¶ 43.) Once

the relevant information was provided, the parties expected that the valuators would use the

information to calculate a range of fair market values. (Id. ¶ 44.) The parties would then rely upon

the experts’ opinions. (Id. ¶ 41 (quoting Mounce Dep. 605:24–606:14 (“I relied on all the third

parties including the valuators. Altegra, Pinnacle, and HAI in their evaluations that were put

forward.”)).) Methodist believed that compensation paid by Methodist to West under each of the

Affiliation Agreements was fair market value and that all of the Affiliation Agreements complied

with the law. (Id. ¶ 45.)




                                    25
 Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 31 of 42 PageID #: 5659
       Finally, even if the government attempted to show that Methodist provided above fair

market value payments to West Clinic (which it cannot), the government has offered no proof

connecting payments from Methodist to any individual West physician, much less to every West

physician such that all claims related to West were false. West had over 70 physicians with varying

roles and varying dates of employment who performed varying work. The government offers no

proof as to how West compensated individual physicians, whether West compensated employed

or contracted physicians differently from shareholder physicians, or whether and how West passed

on any allegedly improper payments received from Methodist to any physician. At this stage in

the litigation, simply speculating that individual doctors received remuneration from Methodist is

not sufficient to constitute proof of remuneration with respect to that physician.

               2.      The Factual Record Demonstrates that the Government’s Contentions
                       in its Complaint and Interrogatories Are Unsupported by Evidence.

       The government offers no evidence to establish unlawful remuneration as a matter of law

for any of its contentions in its Complaint or Interrogatory responses:

       First, regarding the allegation that West operated at sites without reimbursing Methodist,

the undisputed evidence demonstrates that the parties developed a contemporaneous methodology

to ensure that Methodist received adequate compensation. (SUMF ¶¶ 60–61 (citing McLean Dep.

Vol II 8:18–22 (stating he “did an exhaustive review of all the cost centers, what was in the cost

centers, and identified these cost centers as ones where there should be costs that . . . have some

joint activities of which I should be charging for”)).) In fact, during the course of the affiliation,

West paid Methodist approximately $8.2 million to cover costs associated with West operations

that did not benefit Methodist. (Id. ¶ 62.) The government has not determined that $8.2 million

was outside fair market value, nor has it determined what it believes fair market value for those

costs should have been. (Id. ¶ 211.) And, as the government conceded, it does not actually require



                                    26
 Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 32 of 42 PageID #: 5660
parties to have any fair market value opinion, (id. ¶ 209), nor does it specify how fair market value

should be determined when calculating overhead costs or anything else, (id. ¶ 210). Therefore,

Methodist is entitled to summary judgment. See U.S. ex rel. McDonough v. Symphony Diagnostic

Serv., Inc., 36 F. Supp. 3d 773, 781 (S.D. Ohio 2014) (granting summary judgment to defendant

where Relator failed to show that his cost approach was required under the AKS or to provide a

reliable “comparison point” from which an inference could be drawn that the defendant’s cost

analysis was “‘so low’ that it violated the AKS”).

         Second, as to the contention that payments to West for clinical services exceeded the

collections for those services, there is no evidence that payments exceeding collections violates

the AKS. In the only fair market value review of the PSA, and hence in the only undisputed

evidence, Mr. Mello validated the uniform contemporaneous views of the witnesses that payments

were at fair market value. (SUMF ¶¶ 46–47, 212.) And, although the government carries the

burden, it has offered no evidence of its own regarding the fair market value for the physicians’

services. (Id. ¶ 211.) Moreover, the Magistrate Judge deemed it admitted that the government has

not identified any rules, regulations, guidance, official publications, provider education materials,

or reports that forbid payment to a physician in an amount greater than his or her professional

collections. (Dkt. No. 312); (see also SUMF ¶ 214.)

       Third, as to payments under the MSA, the evidence is undisputed that payments that

Methodist made to West fell within the permitted range of fair market value, (SUMF ¶¶ 49, 212),

and through the work of the West physicians, the service line was able to develop treatment

pathways protocols for treating various cancer types; increase compliance with standardized care

plans and protocols; increase documentation within patient records; increase communication with

other providers; improve patient satisfaction scores; improve staff feedback scores; reduce hospital




                                    27
 Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 33 of 42 PageID #: 5661
admissions; reduce emergency department visits and admissions; reduce surgical-site infections;

reduce central-line infections; reduce post-op infections; open an acute care clinic; create patient-

navigation program; create a survivorship program; create a genetics program; increase genetic

testing; increase molecular testing; increase clinical trials; and improve cancer survival outcomes

for breast, lung, uterine, and colon cancers. (See id. ¶¶ 154–172.)

       Fourth, the LEA was paid at cost (id. ¶ 56), and the government does not submit evidence

that any payments made under the MSA were not at fair market value as provided in

contemporaneous reports. Again, although the government bears the burden of proof, it cannot

offer any evidence regarding what it believes to be fair market value for the leased employees,

much less any explanation for how Methodist’s at-cost payment for those leased employees

exceeded fair market value—under either the LEA or the MSA.

       Because payments made under the agreements were at fair market value, there is no

remuneration under the AKS. See Bingham, 783 F. App’x at 870-73; U.S. ex rel. Jamison v.

McKesson Corp., 900 F. Supp. 2d 683, 699 (N.D. Miss. 2012) (finding that “[i]n the context of the

AKS, courts use ‘fair market value’ as the gauge of value when assessing the remuneration element

of the offense” and when fair market value was paid, government could not prove AKS violation);

see also Klaczak v. Consol. Med. Transp., 458 F. Supp. 2d 622, 678-79 (N.D. Ill. 2006) (noting

that “[r]elators cannot prove that the Hospital Defendants received remuneration—something of

value—without comparing the contracted rates with fair market value” and, when relators could

not establish any value other than fair market value was paid, dismissing relators’ claim at

summary judgment). If no remuneration is paid, there cannot be a violation of the AKS.

       B.      The Government Has Not Established that Methodist Made Any Objectively
               False Certification.

       The government contends that Methodist knowingly made false certifications on claims



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 Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 34 of 42 PageID #: 5662
and cost reports that it was complying with the AKS, when, in fact all claims submitted associated

with the affiliation resulted from AKS violations. (Compl. ¶¶ 39–77, 354.) For Methodist’s

certifications to be false under the FCA, they must be “objectively false” because a “statement

may be deemed ‘false’ for purposes of the False Claims Act only if the statement represents an

‘objective falsehood.’” U.S. ex rel. Yannacopoulos v. Gen. Dynamics, 652 F.3d 818, 836 (7th Cir.

2011) (citations omitted); see also U.S. ex rel. Thomas v. Siemens AG, 593 F. App’x 139, 143 (3d

Cir. 2014); U.S. ex rel. Wilson v. Kellogg Brown & Root, 525 F.3d 370, 377-78 (4th Cir. 2008).

       The government cannot establish that Methodist’s certifications were objectively false

where the only fair market valuation conducted regarding the main components of the affiliation

found the payments to be within fair market value. The government’s Complaint and Interrogatory

responses at most merely posit differing opinions as to fair market value. For example, did

Methodist’s methodology for calculating West’s allocation of overhead costs over-compensate or

under-compensate West? Were Methodist’s payments under the PSA and MSA too high or too

low, given that there is no government-prescribed methodology for determining fair market value

in the first instance? When all that exists, at most, is a difference of opinion whether payments

were set at fair market value, there is no objective falsity and no FCA violation. See generally

U.S. ex rel. Bell v. Cross, 2021 WL 5544685, at *2 (11th Cir. Nov. 26, 2021); United States v.

AseraCare, Inc., 938 F.3d 1278, 1297 (11th Cir. 2019). Because here there is no objective falsity,

but rather a difference of opinion, there is no FCA violation as a matter of law. See Thomas, 593

F. App’x at 143; U.S. ex rel. Hill v. Univ. of Med. & Dentistry of New Jersey, 448 F. App’x 314,

316 (3d Cir. 2011); Yannacopoulos, 652 F.3d at 836; Kellogg Brown & Root, 525 F.3d at 377–78;

U.S. ex rel. Morton v. A Plus Benefits, Inc, 139 Fed. Appx. 980, 982 (10th Cir. 2005).




                                    29
 Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 35 of 42 PageID #: 5663
III.     There Is No Evidence That Methodist Engaged in Knowing or Willful Conduct in
         Violation of the AKS or FCA.

         Aside from there being no proof of remuneration, no proof linking unlawful remuneration

to a specific West referring physician, and no proof of objective falsity, there is also no proof of

any “knowing and willful” attempt to violate the AKS. A corporate defendant “can only act and

know through its officers.” United States v. Carter, 311 F.2d 934, 941–43 (6th Cir. 1963) (emphasis

added). 13 Here, the government has failed to show that Methodist, through any authorized

employee, 14 knowingly and willfully violated the AKS for at least two reasons.

         First, it is well-established that defendants cannot knowingly submit false claims when they

act within a reasonable interpretation of what is, at most, an ambiguous law and when there is no

official governmental guidance, such as a court of appeals decision or binding agency

determination, that would warn defendants away from their reasonable interpretation. See, e.g.,

Olhausen, 2022 WL 1203023, at *2 (because defendant had an “objectively reasonable

interpretation” of applicable requirements, plaintiff could not show defendant had the requisite

intent to violate the FCA). 15


13
  Courts in the Sixth Circuit and beyond have consistently rejected the notion that a company can
be held liable under the FCA based on the collective knowledge of employees, meaning that the
government must be able to pinpoint a specific individual with the requisite scienter. See United
States v. Life Care Ctrs. of Am., Inc., 114 F. Supp. 3d 549, 567–68 (E.D. Tenn. 2014) (discussing
widespread rejection of “collective knowledge” theory in FCA cases that would allow proof of
scienter based on piecing together “innocent” knowledge held by multiple corporate officials); see
also, e.g., Consol. Med. Transp., 458 F. Supp. 2d at 680 (“Relators have not set forth any evidence
concerning the state of mind or intent of any of the relevant agents of the Hospital Defendants.”).

14
  Although earlier versions of the complaint included former Methodist CEO Gary Shorb and
former CFO Chris McLean as named defendants, the government dropped them as defendants
when it intervened. (Compare Dkt Nos. 59, 169 with Dkt. No. 235.)
15
   See also U.S. ex rel. Sheldon v. Allergan Sales, LLC, 24 F.4th 340, 343044 (4th Cir.), reh’g en
banc granted, 2022 WL 1467710 (4th Cir. May 10, 2022), and opinion vacated on reh’g en banc,
49 F.4th 873 (4th Cir. 2022) (“Because [Defendant’s] reading of the Rebate Statute was at the very
least objectively reasonable and because it was not warned away from that reading by authoritative


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     Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 36 of 42 PageID #: 5664
       Methodist could not act with the requisite scienter to violate the AKS because it had a

reasonable interpretation of the law—that under the Medicare Act’s definition of “remuneration”,

payments set at fair market value do not constitute unlawful remuneration under the AKS. 16 That

is, where Methodist believed it was paying West fair market value compensation for West’s

services, Methodist did not knowingly and willfully pay West any bribes or kickbacks.

       During discovery, the government did not identify any court of appeals decision or binding

agency determination that transactions at fair market value could constitute AKS violations.

Indeed, the Eleventh Circuit has stated the opposite: that Medicare law provides that a fair market

value transaction cannot constitute unlawful remuneration in violation of the AKS. Bingham, 783




guidance, it did not act ‘knowingly’ under the False Claims Act.); United States v. Supervalu Inc.,
9 F.4th 455, 472 (7th Cir. 2021), cert. granted sub nom. U.S. ex rel. Schutte v. SuperValu Inc., 143
S. Ct. 644 (2023) (“Because [defendant] had an objectively reasonable understanding of the
regulatory definition … and no authoritative guidance placed it on notice of its error, the relators
have not shown that [defendant] acted knowingly.”); United States v. Allergan, Inc., 746 F. App'x
101, 109-10 (3d Cir. 2018) (plaintiff failed to plead FCA claims where defendants had a reasonable
interpretation of an ambiguous statute and relator did not plead that government had published any
official guidance that would “warn” defendants away from their reasonable interpretation); United
States ex rel. McGrath v. Microsemi Corp., 690 F. App’x 551, 552 (9th Cir. 2017) (finding that
scienter under the FCA could not be established because defendant’s good faith interpretation of
regulation was reasonable); United States ex rel. Donegan v. Anesthesia Assocs. of Kansas City,
PC, 833 F.3d 874, 880 (8th Cir. 2016) (affirming dismissal because defendant had a reasonable
interpretation of ambiguous rule and because there had not been sufficient “official government
warning” to warn defendant away from its reasonable interpretation); U.S. ex rel. Purcell v. MWI
Corp., 807 F.3d 281, 289 (D.C. Cir. 2015) (holding that the FCA imposes no liability for the
reasonable interpretation of an ambiguous regulation in the absence of interpretive guidance “that
might have warned [the defendant] away from the view it took”) (citation omitted); U.S. ex rel.
Ketroser v. Mayo Found., 729 F.3d 825, 832 (8th Cir. 2013) (holding that defendant’s “reasonable
interpretation of any ambiguity inherent in the regulations belies the scienter necessary to establish
a claim of fraud under the FCA”).
16
  In FCA actions, official governmental guidance must be from an appellate court decision or a
binding agency pronouncement. See, e.g., U.S. ex rel. Complin v. N.C. Baptist Hosp., 818 F. App’x
179, 182-84 n.6 (4th Cir. 2020); United States v. Safeway Inc., 466 F. Supp. 3d 912, 931, 939-41
(C.D. Ill. 2020), aff’d, 30 F.4th 649 (7th Cir. 2022).



                                    31
 Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 37 of 42 PageID #: 5665
F. App’x at 873–75. Hence, even if the court were to find that Methodist’s interpretation—that

fair market value transactions do not violate the AKS—is incorrect, circuit courts uniformly

recognize that a reasonable interpretation of an ambiguous standard shows that Methodist could

not have acted with the requisite intent. See, e.g., Olhausen, 2022 WL 1203023, at 2; Safeway,

Inc., 30 F.4th 649; SuperValu Inc., 9 F.4th at 472; Allergan, Inc., 746 F. App’x at 109-10. 17

       Second, independent of Methodist’s reasonable interpretation of the AKS, the government

cannot establish an AKS violation because it cannot satisfy the AKS’s knowing and willful

standard. To establish that defendants knowingly and willfully paid remuneration to induce

referrals, the government must establish that defendants knew that their conduct was wrongful.

See, e.g., United States v. Starks, 157 F.3d 833, 837–38 (11th Cir. 1998); United States v. Jain, 93

F.3d 436, 440 (8th Cir. 1996); United States v. McClatchey, 217 F.3d 823, 829 (10th Cir. 2000);

United States v. Davis, 132 F.3d 1092, 1094 (5th Cir. 1998); United States v. Bay State Ambulance

& Hosp. Rental Serv., Inc., 874 F.2d 20, 33 (1st Cir. 1989). 18



17
   The government admitted in this case that it has never defined a particular method to assess fair
market value. (SUMF ¶ 214.) Nor has the government ever issued official governmental guidance
warning any health care provider from utilizing a market approach as its fair market value
methodology. See, e.g., Dkt. No. 312. Thus, until Congress enacts a statute or the agency enacts
a regulation prohibiting the industry from using a market approach, Methodist cannot have
possessed the requisite scienter to violate the AKS by reasonably relying on an expert’s viewpoint
that the projected revenue of a service line can be used as a proxy for the level of management
service that would be necessary to manage that service line. See N.C. Baptist Hosp., 818 F. App’x
at 182-84 n.6; Safeway Inc., 466 F. Supp. 3d at 939-41.
18
   Because the alleged predicate violation in this FCA action involves a breach of the AKS, a
criminal statute, the government must demonstrate a violation of that statute beyond a reasonable
doubt. See, e.g., McKesson, 900 F. Supp. 2d at 698 n.7 (noting in ruling against government at
trial in FCA action alleging a violation of the AKS that it applied preponderance standard rather
than the criminal intent standard of “beyond a reasonable doubt” because the government’s case
was not close, but noting “that if this case were a closer call, the proper course would likely be to
use criminal intent” beyond a reasonable doubt standard to prove the underlying AKS violation)
(citation omitted); but see Cairns, 42 F.4th at 834.



                                    32
 Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 38 of 42 PageID #: 5666
       A defendant does not violate the AKS by merely desiring to obtain referrals from a business

arrangement that is designed for other legitimate purposes. See, e.g., U.S. ex rel. Ruscher v.

Omnicare, Inc., 663 F. App’x 368, 374 (5th Cir. 2016); see also McKesson, 900 F. Supp. 2d at 698–

99 (noting that when “analyzing alleged violations of the AKS, a key distinction is that the law . . .

it criminalizes knowing and willful acceptance of remuneration in return for such referrals” and

that “in order to violate the AKS, it is not enough to covet the business of another, there must

actually be some bad intent to violate the law” and rejecting the government’s AKS allegation

because it “presented no proof that either party did anything illegal or in bad faith”).

       Courts have identified multiple factors that indicate when defendants do not act with

unlawful intent. For example, where defendants operate in good faith, participate in common

industry practices, and engage in actions consistent with legitimate business purposes, they do not

violate the AKS. 19 See U.S. ex rel. Kosenske v. Carlisle HMA, 2010 WL 1390661, at *10 (M.D.

Pa., Mar. 31, 2010); McDonnell v. Cardiothoracic & Vascular Surg. Assocs., 2004 WL 3733402,

at *9 (S.D. Ohio, Jul. 28, 2004) aff’d, 165 F. App’x 423 (6th Cir. 2006); Hanlester Network v.

Shalala, 51 F.3d 1390, 1401 (9th Cir. 1995); Consol. Med. Transp., 458 F. Supp. 2d at 675–77,

683–84.

       The record evidence is overwhelming that Methodist operated at all times in good faith. It

engaged qualified industry experts to structure the deal. (SUMF ¶¶ 28-31.) It engaged (although

not required by the government) independent valuation firms to value the various components of



19
  Likewise, under the FCA, courts routinely rule that defendants do not act with reckless disregard
or deliberate ignorance when they rely upon experts as Methodist did here continuously. See, e.g.,
U.S. ex rel. Hefner v. Hackensack Univ. Med. Ctr., 495 F.3d 103, 107–110 (3d Cir. 2007); U.S. ex
rel. Folliard v. Govplace, 930 F. Supp. 2d 123, 137 (D.D.C. 2013), aff’d, 764 F.3d 19 (D.C. Cir.
2014); U.S. ex rel. Crenshaw v. DeGayner, 622 F. Supp. 2d 1258, 1278 (M.D. Fla. 2008); U.S. ex
rel. Ervin v. Hamilton Secs. Grp., 298 F. Supp. 2d 91, 101–02 (D.D.C. 2004).



                                    33
 Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 39 of 42 PageID #: 5667
the transaction. (Id. ¶¶ 51, 65, 71, 76, 143, 146.) It maintained documentation of the payments to

West as well as the reimbursements it sought from West for non-affiliation expenses. (See id.

¶¶ 61-62.) It communicated constantly with West to ensure the legitimate goals of the affiliation

were being met or exceeded, and it kept voluminous records of the work West performed and the

accomplishments it achieved during the affiliation. (See id.) 20

         After more than six years of investigation and litigation, the best the government has to

offer is its expert’s opinion that Methodist, as a health system, should have known the valuation

opinions it obtained during its affiliation were unreliable based on inferences the government’s

expert drew from his valuation expertise, overlooked footnotes in the opinions, and the benefit of

hindsight. Merely identifying supposed “errors” or “inconsistencies” in valuations or in

compliance with the minutiae of contracts over the course of years does not establish a knowing

violation of the AKS or FCA. See U.S. ex rel. Owens v. First Kuwaiti, 612 F.3d 724, 734 (4th Cir.

2010). The government has not set forth any evidence concerning the state of mind or intent of

any of the relevant agents of Methodist that would establish that any agent individually or

collectively were knowing and willful participants in any unlawful conduct.



20
   During discovery, Methodist sought 30(b)(6) testimony from the government regarding its
contention that there was “no evidence to show what exactly West did, let alone specifically who
provided management services.” (SUMF ¶ 205.) The government’s designee first acknowledged
that the government had issued no laws or regulations requiring that time records or any proof of
services to comply with the AKS. (Id. ¶ 206.) Furthermore, he acknowledged that despite being
designated to testify about the government’s contention that there was “no evidence to show what
exactly West did,” he had had not been provided and had not reviewed voluminous documents
produced in the litigation evidencing services provided, such as minutes of meetings of the CPQ
Committee, the Commission on Cancer, the Clinical Leaders Council, and the Education
Committee; nor did he have any knowledge of what work West did to achieve various
accreditations for the cancer center; or whether West had performed various services such as
standardizing admission and discharge protocols, recruiting surgical oncologists and transplant
physicians, standardizing surgical equipment tools, or reduced ED visits. (Id. ¶ 207.) His
testimony was representative of the government’s case as a whole: broad assertions but no
supporting facts.


                                        34
     Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 40 of 42 PageID #: 5668
                                         CONCLUSION

       The United States cannot establish multiple elements of its case, including: (1) that any

claims “resulted from” a violation of the AKS (causation), (2) that Methodist paid West above fair

market value for services rendered (falsity), or (3) that Methodist knowingly and willfully violated

the AKS and knowingly submitted false claims in violation of the FCA (scienter). Because a

failure of proof on any one of these elements mandates entry of summary judgment, Methodist

requests that the Court dismiss all claims in the United States’ Complaint in Intervention with

prejudice, and enter judgment in favor of Defendants.

Dated: April 14, 2023.

                                              Respectfully submitted,

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                                    35
 Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 41 of 42 PageID #: 5669
                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and exact copy of the foregoing has been served on the following
counsel via the Court’s CM/ECF email notification system on this the 14th day of April, 2023:

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                                                             /s/ Brian D. Roark




                                    36
 Case 3:17-cv-00902 Document 321 Filed 04/14/23 Page 42 of 42 PageID #: 5670
